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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF GEORGIA                                                       ●● (
                                      AUGUSTA DIVISION                                           u .s.c       1: ►



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                                                                                                                  o              T CC'JPJ
                                                                                                                      V V* \ .   . Di’A
UNITED STATES OF AMERICA
                                                          *                                     ■m\ JAN 12 P 2^53
          V.                                                             CR 116-028

MICHAEL BERNARD JOHNSON                                                                                SU.Uiof. Ui-siA




                                                  ORDER



          Defendant             Michael       Bernard     Johnson          has           filed     a          motion                   for

reduction            in     sentence          pursuant        to     the       compassionate                                 release

provision of 18 U.S.C. § 3582(c) (1) (A) .                               The Court does not require

a response.               Upon due consideration,                  the Court dismisses Johnson^s

request         for relief.

          The    compassionate                release    provision            provides             a        narrow                    path

for a district              court to grant              release to a defendant                              if it                 finds

                                                                               f/
that        extraordinary               and    compelling          reasons               warrant            such                 relief

and that release is \\ consistent with applicable policy statements

                                                                                                       ft
issued by the               [United States]             Sentencing Commission.                                         18        U.S.C.

§    3582 (c) (1) (A) .            Here,       Johnson's        motion        must          be     dismissed                           for

failure         to    exhaust       administrative             remedies.                  That      is               to          say,     a

defendant            may    move     a    federal       district           court           for     compassionate

                                                                                    \\
release         under       §     3582 (c) (1) (A) ,          but    only                after     he             has             fully

exhausted            all    administrative          rights          to   appeal             a    failure                         of    the

Bureau of            Prisons to bring a motion on the defendant's behalf or

L
    he   lapse       of    30    days     from the       receipt         of    such         a    request                         by    the
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                                                                                           n
warden of the        defendant's facility,              whichever is earlier.                    In


this case, while Johnson claims to have lodged a request with the

Warden, he has presented no evidence as such.                               Thus, the Court

cannot      conclude      that   Johnson     has     exhausted        his    administrative

remedies prior to seeking relief in this Court.

       The Court is also constrained to note that Johnson does not

appear to qualify for relief in any event.                        U.S.S.G. § 1B1.13 of

the Sentencing Guidelines provides the policy statement applicable

to consideration of whether \\ extraordinary and compelling reasons                               If




exist to warrant compassionate release.                        The application note to

this     policy      statement       lists          three      specific           examples       of

extraordinary and compelling reasons to consider reduction of a

defendant's        sentence      under     §       3582(c)(1)(A):           (1)     a     medical

condition;     (2)      advanced    age;   and      (3) family circumstances.                   Id.

n.KA)-(C). 1         To    qualify    as     extraordinary           and    compelling,          an

inmate's medical condition must be                    \\ serious and advanced .


with   an    end   of    life    trajectory,         U.S.S.G.    §    1B1.13,        app.      note

                                                                             \\
1(a) (i),     or   must     be     serious         enough     that    it          substantially

diminish[es]       the    ability    of    the      [inmate]     to    provide          self-care

within the environment of a correctional facility and from which
                                                       //
he or she is not expected to recover.                       id., app. note 1(a) (ii) .




1  A fourth catch-all category, not applicable here, provides: "As determined
by the Director of the Bureau of Prisons, there exists in the defendant's case
an extraordinary and compelling reason other than, or in combination with," the
aforementioned three categories.  Id. n.l(D) (emphasis added).
                                               2
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         In this case, Johnson presents no medical evidence that he

meets this criteria.                Instead, he claims, without medical support.

that     he     has     a    qualifying     medical         condition       based      upon    his

\\                                                  //
     bronchitis and chest congestions.                    (Def.'s Mot., Doc. 93, at 2.)

The Centers for Disease Control, however, does not list either of

these conditions as a significant risk factor for the contraction

of COVID-19.           See Centers for Disease Control & Prevention,                      People

wi th           Certain          Medical           Conditions,              available           at

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html                             (last visited on

January 11, 2021).              Thus, without evidence that Johnson's medical

conditions,           in     conjunction    with         COVID-19,    will       diminish      his

ability to self-care or cause a condition from which he may not

recover, Johnson fails to show that he is entitled to compassionate

release.          In       short,    Johnson   is        forewarned       that   his     bid   for

compassionate           release      is   severely        lacking    in    merit    as    it   now

stands.

         Upon    the        foregoing.    Defendant         Michael       Bernard      Johnson's

motion for compassionate release (doc. 93) is DISMISSED.

        ORDER ENTERED at Augusta, Georgia, this                              day of January,

2021.




                                                             .N       ALL, CHIEF JUDGE
                                                         UNITEpr STATES DISTRICT COURT
                                                         BOUTKRRN DISTRICT OF GEORGIA


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